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 Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                   No. 3:25-cr-00014-TMB-KFR

                      Plaintiff,             COUNT 1:
                                             FELON IN POSSESSION OF FIREARM
       vs.                                    Vio. of 18 U.S.C. §§ 922(g)(1) and
                                             924(a)(8)
 KEADRON DEON WALKER,
                                             COUNT 2:
                      Defendant.             DISTRIBUTION OF A CONTROLLED
                                             SUBSTANCE WITHIN 1000 FEET OF A
                                             PLAYGROUND
                                              Vio. of 21 U.S.C. §§ 860(a),
                                             841(a)(1),(b)(1)(B)(viii), and (C)

                                             CRIMINAL FORFEITURE
                                             ALLEGATION:
                                               18 U.S.C. § 924(d), 28 U.S.C. § 2461(c),
                                             and Fed. R. Crim. P. 32.2(a)


                                      INDICTMENT

       The Grand Jury charges that:

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                                          COUNT 1

       Beginning at a date unknown to the grand jury and continuing until on or about

February 13, 2025, within the District of Alaska, the defendant, KEADRON DEON

WALKER, knowing that he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess, in and affecting

interstate commerce, ammunition and a firearm, identified as:

              A Glock 19, 9mm handgun.

                                      Prior Conviction

   Conviction Date              Offense                  Court              Case Number
                            Theft 2d Degree       Alaska Superior       3PA-21-00405CR
    July 29, 2024
                           AS 11.46.130(a)(7)          Court

       All of which is in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

                                          COUNT 2

       On or about June 27, 2024, within the District of Alaska, and within 1,000 feet of

the real property of a playground, the defendant, KEADRON DEON WALKER, did

knowingly and intentionally distribute controlled substances, namely, 5 grams or more of

pure methamphetamine, its salts, isomers, and salts of its isomers; and the schedule II

controlled     substance     N-Phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]       propanamide

(Fentanyl).

       All of which is in violation of 21 U.S.C. §§ 860(a), 841(a)(1), (b)(1)(B)(viii), and

(b)(1)(C).




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                      CRIMINAL FORFEITURE ALLEGATION

       The allegations contained in Count 1 of this Indictment are hereby re-alleged and

incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C. § 2461(c).

       Upon conviction for the offense in violation of 18 U.S.C. §§ 922(g)(1) set forth in

Count 1 of this Indictment, the defendant, KEADRON DEON WALKER, shall forfeit to

the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) any firearms and

ammunition used in knowing violation of the offense, including but not limited to:

            A Glock 19, 9mm handgun SN VLF 538, and

            Associated ammunition and magazines.

       All pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Fed. R. Crim. P.

32.2(a).

       A TRUE BILL.

                                                s/ Grand Jury Foreperson
                                                GRAND JURY FOREPERSON

s/ Stephan A. Collins
STEPHAN A. COLLINS
Assistant U.S. Attorney
United States of America


s/ Michael J. Heyman
MICHAEL J. HEYMAN
United States Attorney
United States of America

DATE: March 18, 2025


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